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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA


In Re:                                                  )       Case Number 21-02909-HB
The Muffin Mam, Inc.,                                   )       Chapter 7
TIN: XX-XXXXXXX                                         )
                                        Debtor.         )

                 APPLICATION BY TRUSTEE TO EMPLOY ACCOUNTANT

TO THE HONORABLE HELEN ELIZABETH BURRIS, JUDGE

Comes now John K. Fort, Trustee, for the above-captioned Estate, and would respectfully show the
Court as follows:

1. Applicant is duly appointed and acting as Trustee in the above-captioned case.

2. Applicant requires the services of Edward Bowers C.P.A. and Middleswarth, Bowers & Co. L.L.P.
as Accountants to perform the following duties:
        To prepare fiduciary or corporate tax returns for the bankruptcy Estate in accordance with the
        Trustee's duties under the Bankruptcy Code.
        To prepare W-2 forms for the E
state and calculate withholding taxes.
        To examine the books and records of the Debtor.
        Other accounting duties.

3. Applicant wishes to employ Edward Bowers C.P.A. and Middleswarth, Bowers & Co. L.L.P., to
provide the above stated services at the following hourly rates subject to Court approval:
Edward Bowers Partner $285.00
Other Partners $225.00
Laurie LeGrand Associate $225.00
Bookkeeper $85.00

4. The reason for the selection of said Certified Public Accountant is that he is experienced,
competent, and equipped to do the accounting work which is required by the Estate.

5. Trustee believes that said Edward Bowers C.P.A. and Middleswarth, Bowers & Co. L.L.P., have
no connection with or relation to the Debtor, Debtor's creditors, any other party in interest, their
respective Attorneys and Accountants, other Professionals appointed in this case by the Applicant,
the United States Trustee, or any employee of the United States Trustee pursuant to Bankruptcy Rule
2014(a). Edward Bowers C.P.A. and Middleswarth, Bowers & Co. L.L.P. has worked and continues
to work with the Trustee on other Bankruptcy cases. His employment is in the best interest of the
Estate. An Affidavit of Disinterestedness has been filed.
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Application by Trustee to Employ Accountant
Case Number 21-02909-HB, The Muffin Mam, Inc.




WHEREFORE, your Applicant prays that he be authorized to employ Edward Bowers C.P.A. and
Middleswarth, Bowers & Co. L.L.P., as accountant; that Edward Bowers C.P.A. and Middleswarth,
Bowers & Co. L.L.P., should be employed, and for such other relief as is just and proper.




Dated: December 9, 2021                                    /s/ John K. Fort
Spartanburg, South Carolina                               John K. Fort, Chapter 7 Trustee
                                                          District ID 863
                                                          P. O. Box 789, Drayton, SC 29333
                                                          (864) 237-8284
                                                          johnkfort@gmail.com
